      Case 1:18-cv-00134-BKS-ATB Document 51-1 Filed 11/14/22 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK

NEW YORK STATE RIFLE AND PISTOL                   )
ASSOCIATION, INC., et al.,                        )
                                                  )
                         Plaintiffs,              )
                                                  )
       v.                                         )   Civil Action No. 1:18-cv-00134-BKS-ATB
                                                  )
STEVEN NIGRELLI, IN HIS OFFICIAL                  )
CAPACITY AS ACTING                                )
SUPERINTENDENT OF THE                             )
NEW YORK STATE POLICE, et al.,                    )
                                                  )
                         Defendants.              )

        MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR ENTRY OF
                    JUDGMENT UNDER RULE 58(d)

       Plaintiffs Brandon Koch, Robert Nash, and the New York Pistol and Rifle Association,

Inc. filed suit challenging the constitutionality of N.Y. Penal Law § 400.00(2)(f), which limited

the right to carry firearms outside the home to those who could satisfy a licensing official that they

have “proper cause” to exercise that right. See ECF 1 & 31. Plaintiffs sought a declaration that

N.Y. Penal Law § 400.00(2)(f) was unconstitutional and an injunction against Defendants’

enforcement of it. Id.

       The District Court granted Defendants’ Motion to Dismiss and entered judgment for

Defendants, see ECF 32 & 33, and the United States Court of Appeals for the Second Circuit

affirmed the District Court’s judgment, see ECF 37.

       After granting Plaintiffs’ petition for writ of certiorari, the Supreme Court of the United

States declared that “New York’s proper-cause requirement violates the Fourteenth Amendment

in that it prevents law-abiding citizens with ordinary self-defense needs from exercising their right

to keep and bear arms.” New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2156
      Case 1:18-cv-00134-BKS-ATB Document 51-1 Filed 11/14/22 Page 2 of 3




(2022). The Court “reverse[d] the judgment of the Court of Appeals and remand[ed] the case for

further proceedings consistent with this opinion. It is so ordered.” Id. (italics in original). Shortly

thereafter, New York repealed N.Y. Penal Law § 400.00(2)(f), see Senate Bill 51001 (attached as

Exhibit 1), mooting Plaintiffs’ claim for injunctive relief. Plaintiffs have obtained complete relief.

       On remand to the Second Circuit, that Court “vacate[d] the judgment of the district court

and remand[ed] this case for further proceedings consistent with the Supreme Court’s decision.”

See ECF 42.

       Accordingly, under Rule 58(d) of the Federal Rules of Civil Procedure and Local Civil

Rule 58.1, and consistent with the Supreme Court’s decision in Bruen and the Second Circuit’s

remand order, this Court should enter judgment in favor of Plaintiffs.

                                          CONCLUSION

       For the foregoing reasons, the Court should grant the Motion and enter the attached

Proposed Order directing the Clerk to enter judgment, pursuant to Rule 58(b) of the Federal Rules

of Civil Procedure and Local Civil Rule 58.1, in favor of Plaintiffs.

Dated: November 14, 2022                               Respectfully submitted,

                                                       /s/ John Parker Sweeney
                                                       John Parker Sweeney
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                                                       Marc A. Nardone
                                                       Connor M. Blair
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                                                       Counsel for Plaintiffs




                                                  2
     Case 1:18-cv-00134-BKS-ATB Document 51-1 Filed 11/14/22 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that on November 14, 2022, I electronically filed the foregoing with the

Clerk of the Count using the CM/ECF system, and I hereby certify that service will be

accomplished by the CM/ECF system on all parties or their counsel.



Dated: November 14, 2022                           /s/ John Parker Sweeney
                                                   John Parker Sweeney

                                                   Counsel for Plaintiffs




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